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                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                               Byron White United States Courthouse
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Christopher M. Wolpert                                                              Jane K. Castro
Clerk of Court                                                                  Chief Deputy Clerk
                                       August 30, 2023


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RE:        23-1135, Griffith v. El Paso County, Colorado, et al
           Dist/Ag docket: 1:21-CV-00387-CMA-NRN

Dear Counsel:

The paper copies of your amici curiae brief is deficient.

Text may be printed on only one side of the paper. See Fed. R. App. P. 32(a)(1)(A).

You must file seven corrected paper copies within three days of the date of this notice.

Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of Court



 Cc:     Counsel of record

CMW/klp
